                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 JOHN DOE,

         Plaintiff,                               Case No. 3:22-cv-00208

 v.                                               Judge Eli J. Richardson
                                                  Magistrate Judge Alistair E. Newbern
 WILLIAM LEE, et al.,

         Defendants.


                                             ORDER

        On June 2, 2022, Defendants William Lee and David Rausch filed a motion to dismiss

Counts II–IX of Plaintiff John Doe’s complaint under Federal Rule of Civil Procedure 12(b)(6).

(Doc. No. 16.) Under Local Rule 7.01(a)(3), any response in opposition must be filed within

fourteen days of service of the motion. M.D. Tenn. R. 7.01(a)(3) (response). An optional reply

may be filed within seven days of service of a response. M.D. Tenn. R. 7.01(a)(4) (reply).

        Any filings made related to the motion to dismiss, including motions for extensions of time

or to exceed page limits, shall be decided by Judge Richardson unless referred to the undersigned

Magistrate Judge.

        It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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